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                           UNITED STATES DISTRICT COURT
                           EASTERN DISTRICT OF MICHIGAN
                                SOUTHERN DIVISION

UNITED STATES OF AMERICA,

                     Plaintiff,
                                                     Case No. 15-CR-20652-13
        vs.                                          HON. GEORGE CARAM STEEH

D-13 ARLANDIS SHY, II,

                Defendant.
_______________________________/

              ORDER STRIKING PRO SE MOTION TO DISMISS [DOC. 233]

        Defendant Arlandis Shy, II, although represented by counsel, has filed a pro se

motion to dismiss due to an alleged violation of the Speedy Trial Act. A person's right to

appear pro se or by counsel is disjunctive, and a person in a criminal matter has no

right, constitutional or otherwise, to "hybrid representation" that results in simultaneous

self-representation and representation by counsel. 28 U.S.C. § 1654; United States v.

Mosely, 810 F.2d 93, 97-98 (6th Cir. 1987). Mr. Shy informed the court on the record

that it was his desire that his attorney, Carl Jordan, remain on his case. Accordingly,

        IT IS ORDERED that the Clerk hereby STRIKE defendant's pro se motion [doc.

223].

Dated: June 29, 2016
                                            s/George Caram Steeh
                                            GEORGE CARAM STEEH
                                            UNITED STATES DISTRICT JUDGE

                                  CERTIFICATE OF SERVICE

                   Copies of this Order were served upon attorneys of record on
                        June 29, 2016, by electronic and/or ordinary mail.

                                      s/Marcia Beauchemin
                                          Deputy Clerk
